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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

case no 4 ~ 602 Y € CR-COHN’

18 U.S.C. § 1028(a)(1)

 

18 U.S.C. § 1028(b)(1)(A)(ii) ACOA TE pone
18 U.S.C. § 1028(c)(3)(A) sige 8
18 U.S.C. § 1028(f)

18 U.S.C. §2

UNITED STATES OF AMERICA ba y
Plaintiff,

VS.

 

BILAL AHMED BHUTTA, a

 

Defendant.
/
INDICTMENT
, The Grand Jury charges that:
COUNT ONE
l. In and around June 2001, at Lauderhill, Broward County, in the Southern District

of Florida, and elsewhere, the defendant,

BILAL AHMED BHUTTA,
did knowingly and intentionally combine, conspire, confederate and agree with ‘persons known
and unknown to the Grand Jury to produce identification documents without lawful authority,
namely, a State of Florida identification card and a driver’s license, when such production would

be in and would affect interstate and foreign commerce, in violation of Title 18, United States

Code, Sections 1028 (a)(1), (b)(1)(A)(ii), (€)@)(A). 0
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OBJECT OF THE CONSPIRACY

2. The purpose and object of the conspiracy was to produce identification documents,

for a fee, which could not have otherwise been obtained lawfully.
MANNER AND MEANS OF THE CONSPIRACY

3. The manner and means by which the defendant and unindicted co-conspirators, who
are both known and unknown, sought to accomplish the purpose and object of the conspiracy,
included the agreement by the defendant, BILAL AHMED BHUTTA, to pay money to obtain a
State of Florida identification card and a driver’s license from the State of Florida Department of
Highway Safety and Motor Vehicles (DMV), by the submission of false information and false,
misleading and improper supporting documents, during the application process to the State of
Florida DMV.

OVERT ACTS

4. In furtherance of the conspiracy and to effect the object thereof, at least one of the
following overt acts, among others, was carried out by at least one co-conspirator in Broward
County, in the Southern District of Florida, and elsewhere:

a. On or about June 13, 2001, the defendant, BILAL AHMED BHUTTA,
met with an individual at a State of Florida DMV office, located in Lauderhill, Broward County,
Florida, to fraudulently obtain a State of Florida identification card and a driver’s license.

b. On or about June 13, 2001, the defendant, BILAL AHMED BHUTTA,
paid money to an individual as a fee to fraudulently obtain a State of Florida identification card
and a driver’s license.

All in violation of Title 18, United States Code, Section 1028(f).
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COUNT TWO
On or about June 13, 2001, at Lauderhill, Broward County, in the Southern District of
Florida, the defendant,
BILAL AHMED BHUTTA,
did knowingly and without lawful authority, cause to be produced, an identification document,
that is, a State of Florida identification card bearing the name of “Bilal Amed Bhutta,” such
production being in and affecting interstate and foreign commerce; in violation of Title 18,

United States Code, Sections 1028(a)(1), (b)(1)(A)(ii), (c)(3)(A), and 2.

A TRUE BILL

 

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MARCOS DANIEL JIMEMEZ
UNITED STATES ATTORNEY

Clo ix Fmd fn

RICHARD GETCHELL f/
ASSISTANT U.S. ATTORNE

ELOISA D. FERNANDEZ
ASSISTANT U.S. ATTORNEY

 

 

 
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UNITED STATES OF AMERICA CASE NO:

vs.

BILAL AHMED BHUTTA,

SOUTHERN DISTR F FLOR

()2~0u29 @OR-COHN

 

CERTIFICATE OF TRIAL ATTORNEY*

 

 

 

Whines t ss PGE
Defendant. Tabb
j Superseding Case Information:

Court Division: (Select One) New Defendant(s) Yes No —

Number of New Defendants ——_
— Miami —— Key West Total number of counts —_.
—xX FTL -—— WPB — FTP

| do hereby certify that:

1.

| have carefully considered the allegations of the indictment, the number of defendants, the number of
probable witnesses and the legal complexities of the Indictment/Information attached hereto.

 

 

 

2. | am aware that the information supplied on this statement will be relied upon py the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) —No_
List language and/or dialec .

4. This case will take —6_—_ days for the parties to try. 2 |

5. Please check appropriate category and type of offense listed below: af Z
(Check only one) (Check only one) : : os i

I 0 to 5 days —— Petty —__—_ vs

Il 6 to 10 days —_xX Minor —— — |

ltl 11 to 20 days —__—. Misdem. ——-- - =

IV 21 to 60 days —___ Felony —Ap; _ i!

Vv 61 days and over le]

Mae! oy
6. Has this case been previously filed in this District Court? (Yes or No) —No — oo
es:

Judge: Case No.

(Attach copy of dispositive order)

vas a complaint been filed in this matter? (Yes or No) -Yes_

yes:
Magistrate Case No. 04-3403-White

Related Miscellaneous numbers:
Defordanite in federal custody as of
Defendant

Rule 20 from the WH eeesesSSSSSSSSsSss District of

 

 

 

in state custody as of

 

 

 

 

 

 

 

is this a potential death penalty case? (Yes or No) —Noa__

7. Does this case ¢ originate from a matter pending in the U.S. Attorney's Office prior to
April 1, 2003? Yes No

8. Does this case originate from a matter pending in the U. S. Attorney’s Office prior to
April 1, 1999? Yes No
if yes, was it pending in the Central Region? Yes No

9. Does this case originate from a matter pending in the Northern Region of the U_S. Attorney’s Office prior
to October 14, 2003? Yes aingin No

10. Does this case originate from a matter pending | in pine Narcotics Section (Miami) prior to

May 18, 2003? Yes

 

Clea. fa Lar

RICHARD GETCHELL
ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 817643

*Penalty Sheet(s) attached REV. 1/14/04
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: BILAL AHMED BHUTTA
Case No:
Count #: 1
Conspiracy to produce identification documents without lawful authority
18 U.S.C, § 1028(f)
* Max.Penalty: 15 years' imprisonment
Count #: 2

Production of an identification document without lawful authority =

 

 

 

18 U.S.C. § 1028(a)(1) not
*Max. Penalty: 15 years’ imprisonment - =? |
Count #: — oni

 

 

*Max. Penalty:

Count #:

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
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Case 0:04-cr-60297-

 

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GR-C COHN

 

UNITED STATES DISTRICT COURT

~~. SOUTHERN ow District of FLORIDA

 

THE UNITED STATES OF AMERICA

VS.

Bilal Ahmed Bhutta,

Defendant.

 

 

 

INDICTMENT

18 USC § 1028(a)(1)
18 USC § 1028(b)(1)(A) (ii)
18 USC 8 1028(c)(3)(A)
18 USC 8 1028(f)

 

 

 

 

18 USC 8 2
A true bill. Auli, Myf
FGJ # 03-0: FGJ # 03-03 (MIA) Foreman
Filed in open court this day,
Of ween A.D. 2004

 

Clerk

 

 

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Fee . BR Beat ONES,

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